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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                 PO-21-05194-GF-JTJ
                                           PO-21-05195-GF-JTJ
             Plaintiff,
                                           VIOLATIONS:
      vs.                                  E1102949
                                           E1102950
 CHRISTOPHER X. DUVALL,                    E1103362
                                           E1103363
             Defendant.                    Location Code: M13

                                           ORDER


      Based upon the unopposed motion of the United States and for good cause

appearing, IT IS HEREBY ORDERED that the defendant shall pay a total fine

amount of $630 ($600 fine and a $30 processing fee for violation number

E1103362). The total fine amount will be paid in full on or before June 30, 2022.

Payment(s) should be mailed to the following address:

      Central Violations Bureau
      P.O. Box 780549
      San Antonio, TX 78278

      The check(s) should be made out to the U.S. Courts - CVB. Defendant may

also pay online at www.cvb.uscourts.gov.
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     IT IS ALSO ORDERED that violations E1102949, E1102950 and

E1103363 are DISMISSED.

     IT IS FURTHER ORDERED that the bench trial in the above captioned

matter, currently scheduled for December 9, 2021, is VACATED.

     DATED this 2nd day of December, 2021.




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